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    PUBLIC REDACTED
        VERSION
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May 11, 2012


VIA ELECTRONIC MAIL

Peter J. Kolovos, Esq.
WilmerHale
60 State Street
Boston, Massachusetts 02109

Re:      Apple v. Samsung Elecs. Co. et al., Case No. 11-cv-1846 LHK (N.D. Cal.)

Dear Peter,

I write in response to Apple’s May 9, 2012 production of three patent licenses, over two months
after the February 23 deposition of Mark Buckley—Apple's Rule 30(b)(6) designee on licensing
issues—and the March 8 close of discovery, six weeks after Samsung served the Expert Report
of Vincent O’Brien, and over two weeks after the deposition of Dr. O’Brien. Apple’s repeated,
belated productions of inconsistent and misleading licensing information has significantly
impaired Samsung’s discovery efforts and interfered with its experts' efforts to analyze the
parties’ damages claims.

Apple’s May 9 production proves, once again, that Apple has failed to make a full production of
documents relating to patent licenses concerning the Accused Products. Apple has produced a
series of six inconsistent versions of "royalty charts" purporting to show Apple's royalty
payments, the identity of licensors, and brief descriptions of the technology involved. The first
two charts, produced on February 5 and 16 respectively, Bates numbered APLNDC0001772330-
2340 and APLNDC-Y0000051350-1356, are similar but contained no information about the
iPod. This was the only version of the royalty chart available to Samsung when it deposed Mr.
Buckley on February 23. Additionally, at that time, Apple had not produced most of its patent
licensing agreements; instead waiting until the close of discovery to produce them.

On March 8, 2012, the day factual discovery closed, Apple produced a dramatically different
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series of royalty charts, Bates numbered APLNDC-Y0000232396-2430, which more than
doubled the number of licensors, added hundreds of millions in royalty payments for 2011Q2
through 2012Q1, added hundreds of millions of dollars in iPhone and iPad royalty payments for
the same time periods covered by the earlier versions, and added licensing and royalty
information for the iPod.

On March 13, 2012, Apple purported to claw back all prior versions of the licensing charts,
claiming privilege and third-party confidentiality, further obstructing the analysis of Samsung's
experts. Although Apple produced another series of replacement charts on March 15, 2012, it
clawed them back the evening of March 21, 2012—the night before opening expert reports were
due—and produced yet another series of replacement charts. Then, Apple clawed back the
March 21 charts and produced yet another series of licensing charts on April 11, 2012, Bates
numbered APLNDC-Y0000236371, three weeks after Samsung served its opening expert report
on damages. That same day Apple served, for the first time, a privilege log for the clawed back
licensing charts.1

Despite Apple's untimely and contradictory productions of licensing information, Apple's
counsel aggressively questioned Dr. O'Brien about Apple's patent licenses, insisting that Dr.
O’Brien was incorrect in doubting that Apple had made a full production of relevant licensing
documents. Apple's counsel declared: “In fact, Apple has told you they produced all the patent
licenses on the royalty report” (Depo Tr. of Vincent O’Brien, at 177:8-9) and “you are aware that
Apple has informed Samsung that the licenses that were not produced are licenses that consist of
software licenses, licenses, technology licenses?” (Id., at 169:19-22). Apple’s counsel and
Mr. Musika’s Rebuttal Report also criticized Dr. O’Brien on the basis that Apple’s production of
patent licenses shows that Dr. O’Brien’s use of a “lump sum payment” is incorrect (Musika
Rebuttal Report, at 12-13).

Dr. O'Brien's concerns are well-founded. Apple has deprived Samsung of any means to test its
methodology and representations by its untimely productions and dubious redactions. Apple has
failed to identify the nature of the licenses in the charts, redacted the identify of licensors and
technologies at issue in previous versions of the charts, and doubled the number of licensors
identified in the chart only after the close of discovery, depriving Samsung of the ability to
question Mr. Buckley or any other Apple witness about the new charts.

To this day, Apple's production of licensing agreements remains incomplete. In his rebuttal
report, Mr. Musika relies on license agreements that lack N.D. Cal. Bates numbers (Ex. 3 to
Musika Rebuttal Report, at 2-3). For example, although Apple has produced a draft (Bates
numbered APLNDC-WH0000684912-4926) of the license agreement identified as

       1
          Notably, the privilege log and accompanying letter purport to claw back APLNDC-
Y0000232449-2454, but concedes that it is not protected by any privilege and therefore by
Apple's own admission is not covered by the Protective Order's clawback provisions. The only
basis Apple offers for purporting to "claw back" APLNDC-Y0000232449-2454 is to "avoid
confusion," which is not a basis to withdraw documents. Accordingly, Samsung does not
recognize this document as clawed back.



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AppDel0000121 in Musika's Rebuttal Report, it does not appear that Apple has produced a final,
executed version. It also appears that Apple has not produced the agreement identified as
AppDel0158967, Microsoft Corp., dated 8/5/1997, in Musika's Rebuttal Report. Apple must
immediately produce these agreements. If Apple claims to have produced these documents, it
must identify them by Bates number.

Even more troubling than the missing licenses referenced by Mr. Musika is Apple’s effort to
conceal feature patent licensing agreements with a non-practicing entity, Digitude Innovations.
According to numerous media accounts, Apple entered into patent licensing agreements with
Cliff Island LLC and/or Digitude Innovations, transferring up to a dozen patents to it.2 This
includes at least two patents related to the accused products, USPTO #6208879 (Mobile
Information Terminal Equipment and Portable Electronic Apparatus) and USPTO #6456841
(Mobile Communication Apparatus Notifying User Of Reproduction Waiting Information
Effectively). These patents appear to be potentially relevant to, among other things, a
determination of a reasonable royalty rate for Apple's infringement of Samsung's feature patents.

The media reports are confirmed by Apple's productions in this matter.


                        . Apple has also produced a draft "Assignment of License Agreement"
with Digitude, dated March 25, 2010, but does not appear to have produced a final, executed
agreement. Apple must produce the final, executed agreement, all drafts, and all documents
related to the negotiation of the agreement. If Apple claims to have produced these documents, it
must identify them by Bates number.




                         In his May 26, 2011 deposition in the Nokia matter, Boris Teksler
confirmed that Apple had "acquired patents from other companies that are applicable to cellular
handsets," including from Shoah. Depo. Tr. of Boris Teksler, Nokia v. Apple, D. Del. No. 09-
791 (GMS), at 69:13-71:12. Although Apple has produced a draft of an agreement between
USC and Apple, it does not appear to have produced a final, executed version of the Agreement.
(APL7940018046927-6940). Apple must produce the final, executed agreement, all drafts, and
all documents related to the negotiation of the agreement. If Apple claims to have produced
these documents, it must identify them by Bates number.


       2
           “Apple Made A Deal With The Devil (No, Worse: A Patent Troll)”, accessed on May
10, 2012 at http://techcrunch.com/2011/12/09/apple-made-a-deal-with-the-devil-no-worse-a-
patent-troll/; “Apple partners with patent troll Digitude Innovations — and wow, what a deal”,
accessed on May 10, 2012, at http://venturebeat.com/2011/12/10/apples-patents-digitude-
innovations/.



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It also appears that Apple has improperly withheld another agreement or agreements with
Digitude, whereby Digitude licensed technology related to the Accused Products to Apple.
Apple’s most recent licensing royalty chart lists "Digitude" as a licensor for iPad and iPod
technologies, with Apple paying over               in royalty payments. But Apple conspicuously
omits the "Technology" involved in the licenses. (APLNDC-Y0000236389-R, APLNDC-
Y0000236399-R). In addition to concealing the nature of the licensing agreement, it appears
Apple has redacted the Digitude entry from the iPhone section of its royalty charts. (APLNDC-
Y0000236373-R). Apply must immediately produce the final, executed agreement underlying
these entries, all drafts, and all documents related to the negotiation of the agreement.

There are other entries in Apple’s latest royalty chart that appear to be patent licenses but which
have not been produced. Apple identifies "PREMIER" as a licensor for "Playlist Functionality"
for the iPad, APLNDC-Y0000236386-R, but has redacted out the reference to PREMIER in the
iPhone licensing chart, APLNDC-Y0000236372-R. Apple has failed to produce either of these
license agreements. Please explain immediately whether the PREMIER license(s) includes
patents and explain why Apple identifies the PREMIER license for the iPad but redacted it out
for the iPhone. Apple also identifies "ROVI" as a licensor in its charts for "Software and
Entertainment Metadata," which likely includes patent licenses, but failed to produce those
licenses. Please confirm immediately whether the ROVI license includes any patents.

Apple's delays and obfuscations must end. Apple should, by 5:00 p.m., Tuesday, May 14, 2012,
do the following:

          (1)           Produce the documents identified as AppDel0000121 and AppDel0158967 in Mr.
                        Musika’s Rebuttal Report.

          (2)           Produce any and all license agreements related to Cliff Island LLC, Digitude
                        Innovations, and/or the University of Southern California, as well as all related
                        documents.

          (3)           Confirm the nature of its licensing agreements related to ROVI and PREMIER.

          (4)           Produce all patent licenses related to the Accused Products.

          (5)           Identify by Bates number, party, and date, all patent licensing agreements Apple
                        has produced in this matter.

Samsung reserves its rights to move to preclude Apple from relying on its belated, incomplete,
contradicting and misleading production of licensing information.

Kind Regards,

/s/ Diane C. Hutnyan

Diane C. Hutnyan
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